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                       UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF FLORIDA - MIAMI DIVISION


IN RE:

 CHRISTOPHER NIMETH ,                               CASE NO.: 21-16573-LMI
                                                    CHAPTER 13
        Debtor(s).
 ______________________________________/

                   JOINT MOTION TO ALLOW LATE FILED CLAIM #9
                   Subject Property: 8431 SW 27th Lane, Miami, Florida 33155

         Creditor, 722 Leveling Up, LLC (the “Creditor”), by and through its undersigned counsel,

hereby moves this Court for entry of an Order allowing its late filed Proof of Claim #9 (“Claim”)

and, in support thereof, states as follows:

         1.     Summary of Motion: Creditor seeks authorization to file a Proof of Claim in the

instant case in which the claims deadline had passed but Debtor is seeking to have a review of

the loan which is secured by Creditor’s Claim. Creditor’s counsel has reached out to the Debtor

and they have indicated no opposition to the filing of Creditor’s claim.

          2.    Summary of Facts: The Debtor filed this voluntary Chapter 13 proceeding on July

 1, 2021. The Creditor is a secured creditor through the Note and Mortgage executed on May 11,

 2007 in the amount of $293,900.00 which merged into a Final Judgment of foreclosure on July

 25, 2018. The Creditor holds a security interest in the subject property located at 8431 SW 27th

 Lane, Miami, Florida 33155 (“Property”), more fully described as:

         LOT 14, BLOCK 31, CORAL WAY VILLAGE SECTION AP ART FIVE,
         ACCORDING TO THE PLAT THEREOF, RECORDED IN PLAT BOOK 65,
         PAGE 17, OF THE PUBLIC RECORDS OF MIAMI-DADE COUNTY, FLORIDA.
         3.     On October 26, 2021, Creditor filed a Proof of Claim docketed in the Claims

Register as Claim #9.

         4.     Therefore, Creditor seeks authorization to have its claim admitted as provided by
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the Proof of Claim in the instant case.

       5.      Creditor will be severely prejudiced if it is not allowed to file Claim evidencing the

accurate debt owed to it by the Debtor as Debtor is seeking to modify the subject loan which is

secured by Creditor’s Claim. The prejudice to Creditor will greatly outweigh any prejudice to any

other creditor as well.

       6.      A copy of the Proof of Claim is attached hereto and made a part hereof as Exhibit

“A.”

       WHEREFORE, Creditor respectfully requests that this Court enter an Order granting this

Motion, allowing Creditor to file its Proof of Claim #9 as Debtor has not indicated any opposition

to the claim being filed, and for such other and further relief as this Court deems just and proper.



       /s/ Ida A. Moghimi-Kian                                 /s/ Jose P. Funcia
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                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this day, November 2, 2021, a copy of the foregoing was furnished

electronically and/or via first class U.S. Mail upon:

CHRISTOPHER NIMETH
8431 SW 27 LANE
MIAMI, FL 33155
Debtor(s)
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U.S. Trustee


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